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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

________________________________________________________________________

A.J.T., a minor child, by and through
her Parents, A.T. and G.T.,                               Civil File No. __________________

                Plaintiffs,
                                                                         VERIFIED
  v.                                                                    COMPLAINT

Osseo Area Schools, Independent
School District No. 279 and Osseo
School Board,

           Defendants.
________________________________________________________________________

       Plaintiffs complain and allege as follows:

                                                 I.

                                PRELIMINARY STATEMENT

       1.       Plaintiff A.J.T. is fifteen years old, will begin the eighth grade in the fall,

and lives with her Father and Mother in Maple Grove, Minnesota.

       2.       A.J.T. has disabilities that substantially limit a number of major life

activities,    requiring      special   education,    related   services,   modifications   and

accommodations to access and participate in public school.

       3.       A.J.T. has attended the public schools in the Defendant Osseo Area Schools

since October 21, 2015.

       4.       A.J.T. needs a full-time education like her peers but the District has refused

to accommodate her disability-related need for an altered school day schedule starting at
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noon.

        5.       The District’s refusals constitute discrimination on the basis of disability

and have deprived A.J.T. of equal participation in, enjoyment and benefit of the activities,

programs and services of the District.

        6.       A.J.T. and her Parents have suffered injuries and damages from the

District’s discriminatory conduct for almost six years as well as incurring significant

personal and financial costs to secure her educational rights guaranteed by a trio of

federal laws the District has chronically and persistently violated.

        7.       This action is commenced to secure their rights and relief for their injuries,



                                                II.

                                       JURISDICTION

        8.       This court has jurisdiction over this action pursuant to 20 U.S.C. §

1415(i)(2), 28 U.S.C. § 1331, 28 U.S.C. § 1343(a), 28 U.S.C. §§ 2201 and 2202, and

declaratory relief is authorized under 28 U.S.C. §§ 2201 and 2202.

        9.       Venue in this district is authorized by 28 U.S.C. § 1391(b) because

Defendants conduct business in this district and all of the events described in this

Complaint occurred in this district.



                                               III.

                                           PARTIES

        10.      Plaintiff A.J.T. is a fifteen (15) year-old student and a citizen of the United


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States. Plaintiffs A.T. and G.T. are A.J.T.’s Parents and they are both citizens of the

United States.

       11.     Plaintiffs live in Maple Grove, Minnesota.

       12.     A.J.T. is entitled to special education and related services on the basis of

Lennox-Gastaut Syndrome, pursuant to federal special education laws. She is a “child

with a disability” as defined in the IDEA, 20 U.S.C. § 1401(3), based on a health

impairment as defined in 34 C.F.R. § 300.8(b)(9) due to a chronic or acute health

condition causing limited strength, vitality, or alertness that adversely affects educational

performance.

       13.     A.J.T. is also entitled to protection from discrimination pursuant to federal

anti-discrimination laws. She is a “qualified individual with a disability” as defined in

Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, and its regulations due to a

neurological condition that substantially limits a number of major life activities, including

self-care, performing manual tasks, eating, walking, standing, reaching, lifting, bending,

speaking, learning, reading, thinking, writing, communicating, interacting with others,

and working. 34 C.F.R. § 104.3(j)(2)(ii).

       14.     A.J.T. is also a “qualified individual with a disability” as defined in Title II

of the Americans with Disabilities Act, , 42 U.S.C. § 12131(2) and its regulations, 28

C.F.R. § 35.104 on the same basis.

       15.     A.J.T. is entitled to a free appropriate public education and non-

discriminatory access to a public education under the comprehensive scheme of federal

laws protecting those interests for students with disabilities - the IDEA, Section 504, and


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the ADA.

       16.    Defendant Osseo Area Schools, Independent School District No. 279

(“OAS”), is a governmental entity that administers the public schools within its

boundaries under the management and control of the Osseo School Board. OAS receives

federal financial assistance, including federal funding that is distributed by the Minnesota

Department of Education, for the specific purpose of providing special education services

in a safe and non-discriminatory manner to children with disabilities.            OAS is an

“independent school district” as defined by Minn. Stat.120A.05, Subd. 10, and a “local

educational agency” within the meaning of 20 U.S.C. § 1401(19).

       17.    OAS operates programs and activities through the receipt of federal

financial assistance as defined in Section 504 of the Rehabilitation Act, 29 U.S.C. § 794,

and is a “recipient” of federal funding as defined in 34 C.F.R. § 104.03(f).

       18.    OAS is a “public entity” as defined in Title II of the Americans with

Disabilities Act, 42 U.S.C. § 12131(1), and 28 C.F.R. § 35.104.

       19.    Defendant Osseo School Board is responsible for the supervision of its

public schools and, among other things, ensuring that all children with disabilities are

located, identified, evaluated and provided special education and related services in

compliance with federal and state law, and are protected from discrimination so that they

can participate equally to all others in public school facilities and programs.




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                                              V.

                               FACTUAL ALLEGATIONS

       20.     A.J.T. has been diagnosed with intractable epilepsy and a significant

cognitive disability caused by Lennox-Gastaux syndrome, a condition characterized by

recurrent and severe seizures, that makes learning and functioning in all areas very

difficult for her despite a loving and supportive family, her good nature, her desire to

learn and to please others, and her best efforts.

       21.     A.J.T. is eligible for special education as a student with an Other Health

Disability under state criteria and has always required maximum services and supports in

order to learn and stay safe at school.

       22.     A.J.T. is also protected against discrimination in public education on the

basis of disability.

       23.    A.J.T. has attended Defendant Osseo Area Schools since October 21, 2015,

when she relocated to Minnesota with her family from Kentucky.

       24.    Despite repeated parental requests the District has refused to provide A.J.T.

with a full school day equal to the school day of her peers.

       25.      A.J.T. has been under medical care and treatment since the age of six

months to reduce and minimize seizure activity in order to maintain maximum

functioning and to avoid further damage to her brain and body.

       26.    A.J.T. and her Parents have established a care and treatment regimen under

the direction and advice of her medical providers, particularly her treating neurologists, to

maximize her sleep schedule in the morning in order to manage and minimize seizures


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and medications.

       27.    A.J.T.’s Parents and her treating neurologists have uniformly and

consistently over the past twelve years determined that disrupting her sleep schedule in

the morning causes an inevitable increase in seizure activity in the daytime.

       28.    In the fall of 2009, A.J.T. participated in a hospital treatment program for

children with multiple disabilities at the Aaron W. Perlman Center, Cincinnati Children’s

Hospital, but was discharged from that program based on a medical determination that

her participation in the mornings put her at an unreasonable and unacceptable risk of

increased seizure activity.

       29.    Since then, A.J.T.’s Parents and her treating neurologists have uniformly

and consistently determined that she is unable to attend school or any other activities until

noon, extending her morning sleep regimen in order to decrease her seizure activity

during the middle of the day between noon and 6:00 or 7:00 p.m. despite diligent and

earnest medical care and treatment to alter her schedule.

       30.    A.J.T. is extremely seizure heavy in the mornings when she wakes up and

she is not available for instruction until noon.

       31.    Attempts to alter A.J.T.’s sleep schedule have resulted in dangerous and

dramatic increases in seizure activity.

       32.    During times of heavy seizure activity A.J.T. cries, she is afraid, she needs

to be comforted, she may fall or lose control of her body, and she may be in pain.

       33.    A.J.T.’s Parents cannot subject her to more of that than is absolutely

necessary and have refused the District’s proposals to experiment with her sleep schedule


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by starting her school day earlier than noon against medical advice, creating an

unreasonable risk of harm and injury and an inevitable worsening of her problems.

       34.    Since 2009, all of A.J.T.’s treating neurologists and pediatricians have

documented that A.J.T. cannot safely attend school before noon due to morning seizure

activity related to her chronic condition, that her school start time must be modified to

begin at noon, and her Parents have provided this documentation to her schools.

       35.    Five letters from three different prominent pediatric neurologists from July

1, 2015, to date are contained in the District’s educational records for A.J.T., and

included as exhibits at hearing, all advising that she cannot attend school before noon and

requesting that her school schedule be adjusted but not shortened.

       36.    Since 2009, A.J.T.’s absence from school attendance before noon has been

excused without exception by her public schools despite compulsory attendance

requirements, including by Defendant Osseo Area Schools.

       37.    Since 2009, A.J.T. has been provided special education and related services

on an altered schedule, starting at noon.

       38.    Before moving to the Defendant District in the 2015-2016 school year,

A.J.T. attended public school in Boone County, Kentucky.

       39.    In the Boone County Public Schools A.J.T. received a full day of special

education and related services from noon until 6:00 p.m., mostly in school but

supplemented with some in-home instruction, in order to ensure she received a safe,

appropriate and full public education equal to her peers.

       40.    In Kentucky, A.J.T. was provided the same number of hours as a full


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school day and the same number of hours her peers were provided.

       41.     A.J.T. made progress in learning, communicating, and socializing during

her full school-day schedule in Kentucky while remaining safe and appropriately treated.

       42.     During instruction received at home between 4:00 and 6:00 p.m., both in

Kentucky and when provided privately by her Parents in Minnesota, A.J.T. made

progress, improving her independence, communication and functional skills without any

medical complications or negative effects, staying on task and with good stamina.

       43.     Dr. Joe Reichle, renowned expert in language and communication

disorders, evaluated A.J.T. twice and established that A.J.T. does not learn as efficiently

as a typical learner because her health condition impairs her learning and she does not

learn well vicariously, so she can use all the time she can get to learn.

       44.     Dr. Reichle testified that A.J.T. is clearly way behind her peers in learning

the most basic and important communication skills and is she is falling further behind

every day in terms of rate of acquisition’ “she can use all the available hours that she can

get where she’s motivated to learn.”

       45.     District special education teachers working with A.J.T. over the past five

years agreed that she would benefit from a full school day but were never consulted about

the decision to shorten her school day.

       46.     Dr. Galen Breningstall, renowned expert in pediatric neurology and

A.J.T.’s current treating neurologist, established that “the more instruction time [A.J.T.]

has the better it is for her.”

       47.     Before deciding to move to the Defendant School District her Parents


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communicated with District special education administrators and members of A.J.T.’s

IEP Team, provided information about her disabilities and needs including her Kentucky

IEP, and requested continued full-time instruction on an altered schedule.

       48.      During discussions with the District in August and September, District

special education officials assured A.J.T.’s Parents that the District would continue to

implement the Kentucky IEP schedule A.J.T. needed.

       49.      No additional medical or educational records were requested by the

District.

       50.      On October 11, 2015, District special education administrator Amy

Stafford announced at an IEP Team meeting that the District would not implement the

Kentucky IEP schedule A.J.T. needed on the basis that “we don’t provide both

homebound and school support (modified).”

       51.      This decision was made by District special education administrators

unrelated to any evaluation or documentation of A.J.T.’s individual needs, before any

District staff had met or worked with A.J.T., without the input of anyone who had

actually worked with A.J.T. including teachers, parents or medical providers, and outside

of the IEP Team process.

       52.      This decision was a significant change in A.J.T.’s special education

placement and was not informed or justified by any District re-evauluation.

       53.      A.J.T.’s Parents immediately objected on the basis that the District’s

decision discriminated against their daughter on the basis of disability.

       54.      A.J.T. began attending school in the Defendant School District on October


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21, 2015, as her family had already moved into the District in reliance on the District’s

promises.

       55.    Immediately and throughout her education in the District, A.J.T.’s Parents

continued to request a full school day through a variety of means, including instruction at

home by non-licensed but appropriately supervised staff.

       56.    For more than five years her Parents participated in many, many meetings

with her IEP Team and various District officials up to and including its highest special

education administrator, Kate Emmons, its Special Education Director, to ask that A.J.T.

receive a full day of school starting at noon.

       57.    Director Emmons told A.J.T.’s Parents to hire a personal care assistant

instead of the District providing an educator after regular school hours, reflecting

stereotyped misperceptions about A.J.T. as child with disabilities only in need of personal

care rather than as a learner in need of education.

       58.    The District agreed A.J.T. should have a full day of school but only if she

could attend school on the standard school-day schedule, contrary to medical advice, the

unreasonable risk of harm and injury that would be created, and without teacher or

evaluation support.

       59.    For more than five years District administrators decided and declared that

A.J.T. could not have a full school day starting at noon, citing shifting excuses unrelated

to her medical and educational needs, her IEP Team’s determination, or the full school

day provided to her peers.

       60.    For more than five years A.J.T. was provided a shortened school day by


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District administrative fiat without the input of anyone who worked directly with her,

including her Parents, her teachers, or her medical providers.

       61.    Joy Fredrickson, District special education administrator, dictated the

District’s position at IEP Team meetings, and the opinions of teachers and Parents about

A.J.T.’s need for a full school day were not even considered.

       62.    Over the past five years her Parents have continued to request a full day of

school on an altered schedule, have participated in mediation, conciliation conferences,

and other informal dispute resolution processes, and have worked diligently to promote

cooperation with the District and avoid litigation.

       63.    Yet, A.J.T. has received only four and a quarter hours of education daily

when her peers receive six and a half hours, or a school day 65% of the standard school

day in the District, causing her to receive 405 less hours of instruction each year than her

peers receive..

       64.    Over the past five years her Parents have had to resist multiple efforts by

the District to shorten her already truncated school day further, including reducing her

day from four and a quarter to two hours and forty minutes daily when matriculating to

the middle school in 2019 to match the earlier end of the regular school day.

       65.    A.J.T. and her Parents even had to resist and defend the District’s baseless

administrative hearing in 2019 that sought to shorten her school day below the already

shortened schedule, resulting in an agreement to provide an independent educational

evaluation and dismissal.

       66.    At no time has the District ever established that A.J.T. needs a shortened


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school day, the only legitimate reason to provide one.

       67.    All of the District’s evaluations of and IEPs for A.J.T. establish that she

requires significant and intensive educational efforts and services to make meaningful

progress.

       68.    On October 16, 2015, District administrators decided “state law does not

mandate this support from the school district.”

       69.    On March 18, 2016, District administrators decided A.J.T. should come to

school before noon as her medical needs allowed and her IEP could be delivered with

part-time attendance.

       70.    On June 6, 2016, District administrators decided A.J.T. could not have a

full day of school on an altered schedule “due to the precedent it would start. [sic] For

Osseo School District and other districts across the area.”

       71.    On March 26, 2018, District administrators decided after-hours instruction

would not provide “continuity in environment” or “access to instructional materials and

same aged peers”, and did not coincide with the school nurse regular schedule.

       72.    On March 26, 2018, District administrators decided after-hours instruction

at home was too restrictive, limited access to instructional materials and assistive

technology, and it had not evaluated A.J.T. to document data of her need for a full day of

school.

       73.    On April 2, 2018, District administrators decided A.J.T. can attend school

in the morning when her medical condition changes.

       74.    On June 14, 2018, District administrators decided that school nurse could


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support attendance before noon with more access to peers.

       75.      On September 30, 2019, District administrators decided that a special

education teacher should assess A.J.T.’s ability to access instruction at home before noon,

and should consult with her neurologist to compare morning and afternoon seizure

activity.

       76.      On July 17, 2020, and August 31, 2020, District administrators decided that

A.J.T.’s typical seizure pattern requires services from 12:00 noon to 4:15 p.m.

       77.      The independent educational evaluation performed by Dr. Reichle in 2019

concluded that A.J.T. had a great number of unmet needs for improved language and

communication services as well as augmentative communication technology, and

recommended significantly increased goals, objectives and services, as well as a full day

of instruction between noon and 6:00 p.m. because “it is very important that she receives

as much time as possible for instruction during her alert hours.”

       78.      Dr. Reichle’s recommendations to improve A.J.T.’s IEP were not

implemented because her part-time school schedule prevented full implementation.

       79.      Dr. Reichle’s recommendation to use eye gaze technology with a speech

generating device was never tried, through available in the District, even though “[h]er

communication future lies in augmentative communication applications” and “[i]f it was

successful it would change her life dramatically.”

       80.      A device that provided eye gaze technology with a speech generating

feature was procured by her Parents and given to the District to trial in the fall of 2017

that was never once turned on.


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       81.    The parties agreed in a conciliation conference on August 31, 2020, that

A.J.T.’s IEP would be amended to reflect that annual medical documentation would

determine her hours of instruction.

       82.    After that agreement additional medical documentation was provided from

Dr. Breningstall that determined A.J.T.’s hours of instruction should be from noon to

6:00 p.m., but the District ignored it and disregarded its previous agreement.

       83.    Had A.J.T. been provided a full school day over the past five years she

would have gained greater communication, social and functional skills rather than falling

further and further behind her peers.

       84.    Improved communication, social and functional skills are critical to the

trajectory of A.J.T.’s development, including her independence, health, safety,

satisfaction, dignity, relationships, self-esteem, social status, enjoyment and productivity.

       85.    District special education administrators knew or should have known that

decisions to shorten the school day of a student with a disability must be based on

evaluation data, the student’s individual needs, and Team decision-making.

       86.    District special education administrators knew or should have known that

shortening a student’s school day without basis in a student’s individual needs is

substantially likely to result in violation of federally protected rights.

       87.    District special education administrators knew or should have known that

reasonable accommodations to the standard school day must be provided in order to

ensure equal access to school for students with disabilities.

       88.    The District, through its special education administrators, has acted with


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bad faith, gross misjudgment, or deliberate indifference to A.J.T.’s rights to an education

equal to her peers in compliance with principles of due process embedded in federal law.

       89.    District special education administrators decided that A.J.T. could not have

a full school day on the basis of a mistaken belief that she is too disabled to deserve a full

day of school.

       90.    District special education administrators made false promises to A.J.T.’s

Parents that went unfulfilled, did not respond truthfully over five years to repeated

parental requests for reasonable accommodations, refused to provide her a full school day

despite evidence of insufficient progress with a shortened day, ignored the opinions of

her teachers, her Parents and her physicians, and would not take appropriate action to

protect A.J.T.’s educational interests, but instead consistently refused to provide a full

school day and repeatedly proposed to shorten her school day further.

       91.    District special education administrators wrongly exalted nominal cost

savings over A.J.T.’s needs and her right to a full school day equal to the full school day

of her peers albeit on an altered schedule.

       92.    The District, through its special education administrators, acted deliberately

and intentionally on the basis of stereotypes and misperceptions about the nature and

severity of A.J.T.’s disability through exclusion, denial of benefits, refusal to provide

reasonable accommodations and discrimination.

       93.    Upon information and belief, the District’s policies or practices of refusing

to provide reasonable accommodations to the standard school day schedule is more likely

to injure students with disabilities who need them most.


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       94.    The District provides tutoring at school buildings, homes and various other

locations as well as a host of extracurricular and nonacademic activities after regular

school hours to other students.

       95.    A.J.T. and her Parents exhausted the administrative procedures and relief

available under the Individuals with Disabilities Education Act (”IDEA”) for the denial

of a free appropriate public education, resulting in an order dated April 21, 2021 for an

IEP that provides a full-day of school starting at noon and eye gaze technology with a

speech generating device, as well as compensatory education services.

       96.    The relief obtained through the IDEA’s administrative hearing is

insufficient to ensure her permanent equality of access to public education and to address

and resolve all of A.J.T.’s injuries caused by the District’s disability discrimination.

       97.    The administrative hearing decision has not yet been implemented by the

District, requiring a complaint to the Minnesota Department of Education on June 9,

2021 for enforcement that is pending.

       98.    The Complaint and Request for Hearing raised claims for relief from

violation of the IDEA, as well as Section 504 of the Rehabilitation Act and Title II of the

Americans with Disabilities Act.

       99.    A.J.T. and her Parents are entitled to additional relief from the District’s

discrimination on the basis of disability that should now be awarded.

       100.   Upon information and belief the District has appealed the IDEA

administrative hearing decision by filing a complaint in this Court on June 21, 2021 in

Case No. 21-CV-1453 (MJD/DTS) that has not yet been served though Plaintiffs have


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agreed to waive service.



                                             VI.
                                 CLAIMS FOR RELIEF
                                      COUNT I

              Violations of the Individuals with Disabilities Education Act

      101.     Plaintiffs incorporate the allegations in the preceding paragraphs, as if

alleged herein.

       102.   The District violated significant procedural and substantive requirements of

the Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400, et seq. resulting in an

administrative proceeding that provided limited relief for the denial of a free appropriate

public education to A.J.T. over the past two years.

       103.   The limited IDEA-related relief is not sufficiently comprehensive to secure

a permanent injunction against future illegal conduct by the District or to adequately

compensate A.J.T. and her Parents for their injuries and damages.

       104.   Defendants have refused to implement the administrative decision and

A.J.T. has not yet been provided the relief ordered.



                                        COUNT II

                  Violations of § 504 of the Rehabilitation Act of 1973

       105.   Plaintiffs incorporate the allegations in the preceding paragraphs, as if

alleged herein.



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       106.   The District’s violations of the IDEA also violated Plaintiffs’ rights under

Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794.

       107.   The District also violated different and independent procedural and

substantive requirements of Section 504.

       108.   The IDEA does not provide the exclusive remedy for violations of the

educational rights of students with disabilities.

       109.   The relief available and obtained from the IDEA administrative hearing is

insufficient to permanently secure A.J.T.’s rights to a full school day equal to her peers or

to fully compensate her or her family for their injuries that resulted from disability

discrimination by the District.

       110.   The District is a recipient of federal financial assistance, operates programs

and activities that receive federal financial assistance, and is subject to the requirements

of Section 504, 29 U.S.C. § 794 and 34 C.F.R. § 104.2.

       111.   A.J.T. is a student with disabilities that substantially limit a number of

major life activities, and is an otherwise qualified individual with a disability and a

handicapped person under Section 504, 29 U.S.C. § 794 and 34 C.F.R. § 104.3(j).

       112.   The District denied and excluded A.J.T. from full and equal participation in

and the benefits of its programs, services and activities, including effective methods of

making instruction and instructional materials accessible, on the basis of disability in

violation of Section 504, 29 U.S.C. § 794 and 34 C.F.R. §104.4.

       113. The District’s actions discriminated against A.J.T. in violation of 29 U.S.C.

§ 794 and 34 C.F.R. § 104.4(b) when it:


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          a. Denied her the opportunity to participate in or benefit from the aids,

             benefits of services it offers;

          b. Denied her the opportunity to participate in or benefit from aids,

             benefits or services that are equal to that afforded to others;

          c. Provided her aids, benefits, or services that are not as effective as

             those provided to others;

          d. Unnecessarily provided her with different or separate aids, benefits

             or services;

          e. Otherwise limited her in the enjoyment of all the rights, privileges,

             advantages and opportunities enjoyed by others receiving their aids,

             benefits and services;

          f. Deprived her R.M.M. of an equal opportunity to obtain the same

             result, to gain the same benefit, or to reach the same level of

             achievement in the most integrated setting appropriate to her needs;

          g. Utilized criteria or methods of administration that have the effect of

             subjecting her to discrimination, or have the purpose or effect of

             defeating or substantially impairing accomplishment of the

             objectives of the programs or activities; and

          h. Determining the site or location of services in a manner that has the

             effect of excluding her, denying her the benefits of or subjecting her

             to discrimination under its programs or activities.

114.   Defendants’ failures and refusals to provide A.J.T. with educational


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opportunities equal to those provided to students without disabilities constitute a

longstanding, ongoing and continuous violation of Section 504 and its supporting

regulations. Unless permanently enjoined from doing so, the Defendants will continue to

violate Section 504.

       115.   As a result of disability discrimination A.J.T. has been relegated to an

inferior education program with less services, programs, activities, benefits and other

opportunities, and an inferior status in the enjoyment of critical education services,

resulting in educational, functional, communication, and social disadvantages in ways

that diminish her current and future communication, health, independence, safety, self-

esteem, relationships, dignity, productivity, satisfaction and well-being, in a direct affront

to the purposes of federal special education and anti-discrimination laws.

       116.   As a result of disability discrimination A.J.T. has been significantly

impeded in making progress towards the goals of equal opportunity, full participation,

independent living, and economic self-sufficiency, contrary to the purposes of federal

special education and anti-discrimination laws.

       117.   As a direct result of disability discrimination Plaintiffs A.T. and G.T. have

expended private funds to provide evaluations of A.J.T.’s disabilities and needs, as well

special education and related services in an amount to be established at trial that the

District should be ordered to pay.

       118.   As a direct result of disability discrimination A.J.T. has suffered injuries

and damages in an amount to be established at trial that the District should be ordered to

pay.


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       119.   Plaintiffs are entitled to injunctive relief, compensatory damages, costs and

attorney’s fees.



                                        COUNT III

                    Violations of the Americans with Disabilities Act

       120.   Plaintiffs incorporate the allegations in the preceding paragraphs, as if

alleged herein.

       121.   The District’s violations of the IDEA and Section 504 also violated

Plaintiffs’ rights under Title II of the Americans with Disabilities Act of 1990, as

amended, 42 U.S.C. §§ 12101, et seq..

       122.   The District also violated different and independent procedural and

substantive requirements of the ADA.

       123.   The IDEA does not provide the exclusive remedy for violations of the

educational rights of students with disabilities.

       124.   The relief available and obtained from the IDEA administrative hearing is

insufficient to permanently secure A.J.T.’s rights to a full school day equal to her peers or

to fully compensate her or her family for their injuries that resulted from the

discrimination by the District.

       125.   The District is a public entity as defined in the ADA and is subject to the

requirements of the ADA, 42 U.S.C. §§ 12131 and 12132.

       126.   A.J.T. is a student with a disability that substantially limits a number of

major life activities, and is a qualified individual with a disability as defined by the ADA,


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42 U.S.C. § 12131.

      127.   The District excluded A.J.T. from participation in and denied her the

benefits of its services, programs or activities, and subjected her to discrimination in

violation of the ADA, 42 U.S.C. § 12132.

      128.   The District’s actions discriminated against A.J.T. in violation of 42 U.S.C.

§ 12132 and 28 C.F.R. § 35.130 when it:

          a. Denied A.J.T. the opportunity to participate in or benefit from the aid,

             benefit or service;

          b. Afforded A.J.T. an opportunity to participate in or benefit from the aid,

             benefit or service that was not equal to that afforded others;

          c. Provided A.J.T. an aid, benefit, or service that was not as effective in

             affording equal opportunity to obtain the same result, to gain the same

             benefit, or to reach the same level of achievement as that provided to

             others;

          d. Provided A.J.T. different or separate aids, benefits or services than

             provided to others and refused to provide modifications necessary to its

             standard schedule in order to provide her with aids, benefits or services as

             effective as those provided to others;

          e. Otherwise limited A.J.T. in the enjoyment of a right, privilege, advantage,

             or opportunity enjoyed by others receiving the aid, benefit or service;

          f. Denied A.J.T. the opportunity to participate in services, programs, or

             activities that are not separate or different;


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          g. Utilized criteria or methods of administration that had the effect of

              subjecting A.J.T. to discrimination on the basis of disability, and had the

              purpose or effect of defeating or substantially impairing accomplishment of

              the objectives of its program with respect to individuals with disabilities;

          h. Refused to make reasonable modifications to policies, practices or

              procedures when necessary to avoid discrimination on the basis of

              disability; and

          i. Imposed or applied eligibility criteria that screen out or tend to screen out

              an individual or class or individuals with disabilities from fully and equally

              enjoying any service, program or activity.

       129.   Defendants’ failures and refusals to provide A.J.T. with educational

opportunities equal to those provided to students without disabilities constitute a

longstanding, ongoing and continuous violation of the ADA and its supporting

regulations. Unless permanently enjoined from doing so, the Defendants will continue to

violate the ADA.

       130.   As a result of disability discrimination A.J.T. has been relegated to an

inferior education program with less services, programs, activities, benefits and other

opportunities, and an inferior status in the enjoyment of critical education services,

resulting in educational, functional, communication, and social disadvantages in ways

that diminish her current and future communication, health, independence, safety, self-

esteem, relationships, dignity, productivity, satisfaction and well-being, in a direct affront

to the purposes of federal special education and anti-discrimination laws.


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       131.   As a result of disability discrimination A.J.T. has been significantly

impeded in making progress towards the goals of equal opportunity, full participation,

independent living, and economic self-sufficiency, contrary to the purposes of federal

special education and anti-discrimination laws.

       132.   As a direct result of disability discrimination Plaintiffs A.T. and G.T. have

expended private funds to provide evaluations of A.J.T.’s disabilities and needs, as well

special education and related services in an amount to be established at trial that the

District should be ordered to pay.

       133.   As a direct result of disability discrimination A.J.T. has suffered injuries

and damages in an amount to be established at trial that the District should be ordered to

pay.

       134.   Plaintiffs are entitled to injunctive relief, compensatory damages, costs and

attorney’s fees.



                                           VII.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that this Court:

       1.     Declare that Defendants have discriminated against Plaintiffs on the basis

of disability by excluding A.J.T. from a full school day in violation of Section 504 of the

Rehabilitation Act and Title II of the ADA;

       2.     Preliminarily and permanently enjoin Defendants from failing and refusing

to fully implement the administrative decision to immediately provide A.J.T. a full school


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day, eye gaze technology with a speech generating device, and compensatory education

services;

       3.    Preliminarily and permanently enjoin Defendants from attempting to

shorten A.J.T.’s school day without complying with the procedures and standards

required by federal special education and anti-discrimination laws;

       4.    Reimburse Plaintiffs for the costs expended in providing evaluations and

private services to secure her rights under federal special education and anti-

discrimination laws;

       5.    Award Plaintiffs compensatory damages in excess of Fifty Thousand

Dollars ($50,000);

       6.    Award Plaintiffs reasonable attorneys’ fees and costs; and

       7.    Grant such other relief as the Court deems just and appropriate.




Dated: August 3, 2021                    By: /s/ Amy J. Goetz
                                             Amy J. Goetz (# 214711)
                                             SCHOOL LAW CENTER, LLC.
                                             452 Selby Avenue, Suite 2 East
                                             Saint Paul, Minnesota 55102
                                             Telephone: (651) 222-6288

                                         ATTORNEYS FOR PLAINTIFFS


                                VERIFICATION

       We verify under penalty of perjury in accordance with the laws of the United

States that we have read the foregoing Complaint and that all of the facts and statements



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made therein are true and correct to the best of our knowledge, and as to those facts stated

on information and belief, we also believe them to be true and correct.



Dated: August 3, 2021              /s/ A.T. and G.T.
                                   A.T., Father and G.T., Mother




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